        Case 4:20-cv-02078-MWB Document 207 Filed 11/23/20 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
DONALD JU TRUMP FOR                       :         CASE NO. 4:20-CV-02078-MWB
PRESIDENT, INC., et al.,                  :
                                          :
                       Plaintiffs,        :         The Hon. Matthew W. Brann
          v.                              :
KATHY BOOCKVAR, et al.,                   :         Electronically Filed and Served via ECF
                                          :
                            Defendants.   :
                                  NOTICE OF APPEAL
       AND NOW come Intervenors Mike Kelly, Kathy Barnette, Sean Parnell, Luke Negron,

David Torres, Clay Breece, Dasha Pruett, Daryl Metcalfe, Cris Dush, Thomas Sankey, Kathy

Rapp, Robert Kaufman, Stephanie Borowicz and PA Voters Alliances, by and through their

attorneys Thomas W. King, III, and Thomas E. Breth, through Dillon McCandless King Coulter

& Graham, LLP, to give notice that they appeal the Order issued by the Honorable Matthew W.

Brann dated November 21, 2020 (ECF 203) (attached) denying Intervenors’ Motion to Intervene

(ECF 200) (attached) and Brief in Support (ECF 201) (attached) as moot. A copy of the Motion

and Brief are attached.

                                                  Respectfully submitted,

 Dated: November 23, 2020                         /s/ Thomas W. King, III
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Case 4:20-cv-02078-MWB Document 207 Filed 11/23/20 Page 2 of 2




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                                  *Pro Hac Vice Pending




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